Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 1 of 12 PageID #:2193
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 2 of 12 PageID #:2194
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 3 of 12 PageID #:2195
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 4 of 12 PageID #:2196
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 5 of 12 PageID #:2197
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 6 of 12 PageID #:2198
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 7 of 12 PageID #:2199
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 8 of 12 PageID #:2200
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 9 of 12 PageID #:2201
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 10 of 12 PageID #:2202
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 11 of 12 PageID #:2203
Case: 1:17-cv-00194 Document #: 89-3 Filed: 06/02/17 Page 12 of 12 PageID #:2204
